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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                8:02CR353

      vs.
                                                               ORDER
BARRY RENFOLD COOLEY,

                    Defendant.


      This matter is before the Court on the Defendant's pro se motion regarding a

potential reduction in sentence under 18 U.S.C. § 3582(c)(2) (Filing No. 750) and

defense counsel’s motion to withdraw (Filing No. 779). The U.S. Probation Office has

prepared a worksheet recommending no reduction, and counsel was appointed.

      The Defendant was found guilty after a jury trial of Count I of the Indictment

charging him with conspiracy to distribute or possess with intent to distribute 50 grams

or more of a mixture or substance containing cocaine base. The Court sentenced him

to life imprisonment. The Defendant was held responsible for more than 3.5 kilograms

of cocaine base.    His base offense level was 38 based on the drug quantity and

U.S.S.G. § 4B1.1 due to his career offender status. His total offense level was 38, and

he was placed within Criminal History Category VI. His sentencing guideline range was

360 months to life imprisonment.

      Under the recent amendments to the sentencing guidelines, the Defendant’s

base offense level would be 36. The career offender enhancement under § 4B1.1

would still apply and the Defendant's total offense level would be 37, his Criminal

History Category would remain at VI, and his sentencing guideline range would remain
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at 360 months to life imprisonment.      Both the Defendant’s conduct and sentencing

predated the effective date of the Fair Sentencing Act, and therefore he is not entitled to

relief under Dorsey v. United States, 132 S. Ct. 2321 (2012).

       Accordingly,

       1. The Defendant’s motion regarding a potential reduction in sentence under 18

          U.S.C. § 3582(c)(2) (Filing No. 750) is denied;

       2. Defense counsel’s motion to withdraw (Filing No. 779) is granted; and

       3. The Clerk is directed to mail a copy of this order t5o the Defendant at his last

          known address.

       Dated this 5th day of September, 2012.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge




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